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21 l. Plaintif’!`ia THE EST:"L'I'E E'F HELENE E-. NEM]R[]W.

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|FLND RE}MBIL[TATTDN CEN'I'ER IHC. , an ]E]inois corpuratidn, and []'DES 2

through 5|}, ]n~:!uaive.

 

3. Eln Uatdbar T, 211}£|$, tha Hunnmblt: Ganrge M. Maravich granted P|aintiff"s

request to!'l|a a$'al:ond Amand¢d Cdmplaint to C'ase I'~Iumbcr OTCVM ] 3 whichaddad
LAI€`.`. E"tl"lEW NUHSIHG A`ND REI-IAE[LITATI'DN CENTER ]HE. as a nanwd

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4. Csse DECV 5222 not a class action.

5. a receiver has not been appointed in ease tlEEVE 22 '.F.

ti. f.`ase UBCVEHT is not governed by any federal statute that requires a court
order for dismissal of the ease.

i'. F‘lainti ffs arc filing this ooluntar'_.r dismissal on|].r because Defendaot Laltcview
accepted Wsisar of Bervlee of Sommons in case uTCtt'o-t 13 and agreed to tile o
response in that casc.

B. Flaintiff has not dismissed an action based on or including the same claims as
those presented in the suit tile with casei]BCV522'l' or in case il'.l"f.l"t-"ti-i l 3 . Cottrt.

Date: Etetoher 22, 2003 j g
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